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Our History
  tevausa.com/About-Teva/article-pages/Our-history



Bringing quality medicines to the world since 1901


The company known today as Teva started as a small business in
Jerusalem in 1901. Teva has since grown significantly worldwide and
is currently among the top 15 global pharmaceutical Companies1 - a
world leader in generic and specialty medicines.




The company known today as Teva started as a small business in Jerusalem in 1901. The
young company, named after its pharmacist founders, was Salomon, Levin and Elstein Ltd.,
and it distributed imported medicines throughout the region using mule trains and camel
caravans.

Over the following decades, the company’s growth was spurred as demand for locally-
produced medicines grew. In 1976, the company became Teva ("‫ "טבע‬- the Hebrew word for
“nature”) Pharmaceutical Industries Ltd.

Teva grew significantly across the globe through numerous acquisitions which integrated
and enhanced its expertise in innovative and generic medicines, as well as new therapeutic
areas and markets. Today, Teva is among the top 15 global pharmaceutical companies ― a
world leader in generic and specialty medicines.
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Key Milestones in the US:

     1985: A joint company, established by Teva and W.R. Grace in the US, acquires
     Lemmon Pharmacal Company. Teva later buys out W.R. Grace’s share, creating Teva
     Pharmaceuticals USA.
     1996: Biocraft in the US joins Teva’s Active Pharmaceutical Ingredient (API) Division.
     1999: Teva strengthens its position in the US generic pharmaceuticals market by
     acquiring Copley Pharmaceutical Inc.
     2001: Teva gains full ownership of Teva-Marion Partners, renamed Teva Neuroscience,
     marketing innovative products in North America.
     2004: Teva acquires Sicor, Inc., bringing together two premier generic pharmaceutical
     companies, thus combining Teva's successful oral dose generic drugs franchise with
     Sicor's leading generic injectable business.
     2006: Teva acquires IVAX Corporation, strengthening its R&D, respiratory,
     manufacturing, and marketing presence.
     2008: Teva acquires Barr Pharmaceuticals, Inc., expanding Teva’s generic and
     proprietary portfolios to include women’s health and other important therapeutic
     areas.
     2008: Teva acquires CoGenesys, broadening Teva’s biopharmaceutical capabilities.
     2011: Teva acquires Cephalon, Inc. to diversify and expand its portfolio of branded and
     specialty pharmaceuticals, including the areas of CNS and oncology.
     2014: Teva acquires NuPathe and Labrys Biologics, greatly complementing its
     expanding pain care portfolio within CNS.
     2015: Teva acquires Auspex, to strengthen Teva's core central nervous system
     franchise in the area of movement disorders.
     2016: Teva acquires Allergan plc’s worldwide generic pharmaceuticals business,
     Actavis Generics, significantly expanding Teva’s generic product portfolio, R&D
     capabilities, product pipeline, and global operational network.
     2016: Teva acquires Anda, a leading distributor of generic pharmaceuticals in the US.

     2016: Teva and Celltrion entered into an exclusive partnership to commercialize two of
     Celltrion’s products in the US and Canada.




Learn more about Teva’s history >

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1. Teva annual report filing 2018; Based on 2018 revenue data from public filings




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